
MEMORANDUM **
John M. Ladner and Terry T. Ladner appeal from the district court’s order dismissing their appeal from a bankruptcy court order approving a reaffirmation agreement. We have jurisdiction pursuant to 28 U.S.C. § 158. We review de novo a district court’s decision on appeal from a bankruptcy court, Ditto v. McCurdy, 510 F.3d 1070, 1075 (9th Cir.2007), and we affirm.
The issue is moot because counsel signed the certification and the bankruptcy court approved the reaffirmation agreement. See City of Auburn v. United States, 154 F.3d 1025, 1028 n. 5 (9th Cir.1998) (“an appeal should be dismissed as *153moot if the occurrence of intervening events renders a decision unnecessary”).
The district court also properly concluded that the appellants seek an unconstitutional advisory opinion as to the portion of the bankruptcy court order requiring counsel to sign certifications on reaffirmation agreements submitted to the court for approval in the future. See Gator.com Coup. v. L.L. Bean, Inc., 398 F.3d 1125, 1132 (9th Cir.2005) (en banc) (stating rule that courts must avoid issuing advisory opinions on abstract or hypothetical controversies).
AFFIRMED.

 This disposition is not appropriate for publication and is not precedent except as provided by 9th Cir. R. 36-3.

